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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

JERAD GRIMES,                                 )
GEORGIA EMILY EDMONDSON,                      )
                                              )
                          Plaintiffs,         )
                                              )
                     v.                       )       No. 1:21-cv-02367-RLY-DLP
                                              )
ELI LILLY AND COMPANY,                        )
LILLY USA, LLC,                               )
                                              )
                          Defendants.         )

                          Order Regarding Discovery Disputes

        Under Fed. R. Civ. P. 37(a)(1) and S.D. Ind. L.R. 37-1(a), a party must confer

  in good faith to resolve a discovery dispute with another person or party before

  involving the court in the dispute. If the party has exhausted those efforts without

  resolving the dispute they must seek a discovery conference with the Magistrate

  Judge before the filing of a formal motion to compel or contested motion for

  protective order in the manner set forth below:

        a)     Discovery disputes generally. Except in the circumstances covered by

  (b) and (c) below, the party must (1) jointly or unilaterally file a motion for a

  discovery conference, setting forth very briefly and without argument the nature of

  the dispute or (2) jointly contact the Magistrate Judge’s chambers to request a

  conference. If the latter, the court staff may direct the party to provide a brief

  description of the dispute. The party must not unilaterally contact the Magistrate

  Judge’s chambers regarding a discovery dispute absent compelling circumstances.
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         b)      Disputes involving the failure to make any timely response whatsoever

 to a written discovery request. In this circumstance, the requesting party must still

 comply with the requirements of Fed. R. Civ. P. 37(a)(1) and S.D. Ind. L.R. 37-1(a) to

 confer in good faith to resolve the matter with the person or party failing to make a

 response. However, the requesting party is not required to seek a discovery

 conference with the Magistrate Judge before filing a motion to compel.

         c)      Disputes involving an objection raised during a deposition that

 threatens to prevent the completion of the deposition. The party must telephone the

 Magistrate Judge’s chambers to determine whether the Magistrate Judge is available to

 hear argument and rule on the objection on the record of the deposition.

 Although S.D. Ind. L.R. 37-1 provides that pro se parties are not generally subject to

 the requirements of the rule, Magistrate Judge Pryor encourages the parties to follow

 this procedure for deposition objections involving pro se litigants or deponents if the

 objection threatens to prevent the completion of the deposition.

              So ORDERED.


                Date: 1/20/2022




Distribution:

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